                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

In re:                              )
                                    )     Case No. 3:19-bk-1971
CAPSTONE PEDIATRICS, PLLC,          )
                                    )     Chapter 11
                  Debtor.           )
                                    )
____________________________________)
                                    )
CDS BUSINESS SERVICES, INC.         )
d/b/a NEWTEK BUSINESS CREDIT.       )
                                    )
                  Plaintiff,        )
                                    )
v.                                  )     Adv. Proc. No. 3:20-ap-90140
                                    )
                                    )
AMERICA CARES TRUST d/b/a           )
CARENATION                          )
                                    )
                  Defendant.        )
______________________________________________________________________________

                          PROPOSED AGREED ORDER
                   MODIFYING PRELIMINARY INJUNCTION
 _____________________________________________________________________________

          Before the Court is the Second Motion for Limited Relief from Agreed Order Granting

Expedited Motion for Preliminary Injunction, filed by Defendant America Cares Trust, Inc. d/b/a

CareNation (“CareNation”) (Docket Entry No. 41). It appearing from the Supplemental

Memorandum In Support filed by CareNation (Docket Entry No. 42) that neither CDS nor the

Debtor oppose the relief sought, or modification of the Preliminary Injunction under the terms




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set forth below, it is hereby ORDERED that the September 18, 2020 Preliminary Injunction in

this matter (Docket Entry No. 12) shall be MODIFIED as follows:

          1.     Immediately upon entry of this Order, the Debtor, by and through the Chief

Reconstruction Officer (CRO), is hereby authorized and directed to issue from the remaining

balance in Account XXXXXXX239 a wire transfer in the amount of all remaining proceeds

payable to America Cares Trust, Inc. d/b/a CareNation (the “Residual Balance”). As reflected

in CareNation’s Supplemental Memorandum, neither CDS nor Debtor claim any interest in the

Residual Balance.

          2.     Except as otherwise ordered above, the Preliminary Injunction remains in full

force and effect, pending further Orders of this Court. All claims, defenses and other matters

regarding the subject matter of this adversary proceeding are hereby RESERVED.

          It is so ORDERED.

         [This order was signed and entered electronically as indicated at the top of the first page.]




SUBMITTED FOR ENTRY:

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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing was filed electronically on
October 30, 2020. Notice of this filing was sent by operation of the Court’s electronic filing
system to all those parties specifically requesting electronic service and as indicated on the
electronic filing receipt. Parties may also access this filing through the Court’s electronic filing
system.

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